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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

Criminal Case No. O7Cgig£g-LEG
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UNITED STATES OF AMERICA,
Plaintiff,
V. Title 8, U.S.C.,
Sec. l324(a)(2)(B)(iii)-Bringing
in Illegal Aliens Without

Presentation; Title 18, U.S.C.,
Sec. 2 - Aiding and Abetting

OSCAR RENE LA MADRID-ZEPEDA,

Defendant.

vvvvvvv`./vv

 

The United States Attorney charges:

On or about November l, 2007, within the Southern District of
California, defendant OSCAR RENE LA MADRID-ZEPEDA, with the intent to
violate the immigration laws of the United States, knowing and in
reckless disregard of the fact that an alien, namely, David Gutierrez-
Navarro, had not received prior official authorization to come to,
enter and reside in the United States, did bring to the United States
said alien and upon arrival did not bring and present said alien
immediately to an appropriate immigration officer at a designated port
of entry; in violation of Title 8, United States Code,

Section l324(a)(2)(B)(iii) and Title 18, United States Code,

Section 2. »
DATED: ill )?10‘7 .

KAREN P. HEWI
Un` e States tt ney

   

 

REBECCA S. KANTER
Assistant U.S. Attorney

RSK:de:San Diego

11/6/07

 

 

